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              1                                          UNITED STATES DISTRICT COURT
              2                                      NORTHERN DISTRICT OF CALIFORNIA
              3

              4      WHATSAPP INC., a Delaware corporation,                        Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware corporation,
              5                                                                    DECLARATION OF AARON LUKKEN IN
                                                                                   SUPPORT OF PLAINTIFFS’ OPPOSITION TO
              6                            Plaintiffs,                             DEFENDANTS’ APPLICATION TO SET ASIDE
                                                                                   DEFAULT AND TO ENLARGE TIME TO FILE
              7              v.                                                    RESPONSIVE PLEADING TO COMPLAINT
                                                                                   AND CROSS-MOTION TO AUTHORIZE
              8      NSO GROUP TECHNOLOGIES LIMITED                                ALTERNATIVE SERVICE PURSUANT TO
                     and Q CYBER TECHNOLOGIES LIMITED,                             FEDERAL RULE OF CIVIL PROCEDURE
              9                                                                    4(F)(3)
                                           Defendants.
            10                                                                     Date:      April 16, 2020
                                                                                   Time:      1:30 p.m.
            11                                                                     Courtroom: E, 15th Floor
                                                                                   Judge:     Hon. Jacqueline S. Corley
            12
                             I, Aaron Lukken, declare:
            13

            14               1.       The information in this declaration is based on my personal knowledge of this matter and

            15       information I obtained following a reasonable investigation of the events described below. If called as a

            16       witness, I could competently testify to the truth of each statement.

            17               2.       I am an attorney and member in good standing of the State Bar of Missouri, having been

            18       admitted in July, 2013. Since the establishment of my law firm, Viking Advocates, LLC, in January,

            19       2016, my practice has been almost exclusively devoted to service of judicial documents on defendants

            20       outside the United States, primarily pursuant to the Convention on the Service Abroad of Judicial and

            21       Extrajudicial Documents in Civil and Commercial Matters, Nov. 15, 1965 (Hague Service Convention),

            22       [1969] 20 U.S.T. 361, T.I.A.S. No. 6638 (referred to hereafter simply as the Convention). 1 I have

            23       personally managed requests for service on hundreds of overseas defendants pursuant to the various

            24       methods articulated in the Convention, including numerous Israeli defendants annually.

            25               3.       As part of my practice, I am the publisher of the Hague Law Blog, 2 the aim of which is to

            26       1
                       The full text of the Convention may be found at https://www.hcch.net/en/instruments/conventions/full-text/?cid=17. All
                     hcch.net links referenced throughout are provided by the Hague Conference on Private International Law, which
            27       coordinates the operation of over three dozen Hague Conventions for its member states, including the United States and
                     Israel.
            28       2
                       www.haguelawblog.com
  COOLEY
    OLEY LLP
                                                                                                                        LUKKEN DECL.
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                              1.                           CASE NO. 3:19-CV-07123-JSC
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              1      assist attorneys, in an informative yet entertaining manner, in effecting service abroad. I speak regularly

              2      on Hague doctrine here in the United States and abroad, and from time to time I am asked by the

              3      Permanent Bureau of the Hague Conference on Private International Law to offer feedback on the

              4      function of various Hague Conventions from a practitioner’s perspective.

              5               4.    In November, 2019, I was engaged by Cooley LLP, attorneys of record for Plaintiffs

              6      WhatsApp, Inc. and Facebook, Inc., to accomplish service pursuant to the Convention on Defendants

              7      NSO Group Technologies Ltd. and Q Cyber Technologies Ltd.

              8               5.    On November 27, 2019, I completed two applications for pursuant to Article 5(b) of the

              9      Convention, for service on those two defendants. The applications were delivered to the Administration

            10       of Courts (“AOC”) on December 8, 2019. Attached as Exhibit 1 is a true and correct copy of the

            11       application materials I submitted.

            12                6.    At my request, the AOC appointed a service agent named Eitan Newman toeffect

            13       service on Defendants.

            14                7.    On December 17, 2019, Mr. Newman informed me that he successfully served both

            15       Defendants.

            16                8.    On December 31, 2019, and January 1, 2020, I informed Plaintiffs’ counsel and

            17       confirmed that Mr. Newman had served Defendants on December 17, 2019, and reported that the AOC

            18       had yet to raise any objections to our application for service under the Convention.

            19                9.    In past cases where I have asked for Mr. Newman’s appointment, the AOC has usually

            20       returned proofs of service—Certificates, pursuant to Article 6—within four to six weeks of his

            21       submission of required documentation attesting to service.

            22                10.   As of February 19, 2020, I had not received the expected Certificates. Accordingly, on

            23       that day I emailed the AOC and asked when I could expect to receive a certificate of service. Attached as

            24       Exhibit 2 is a true and correct copy of my email exchange with the AOC, including my February 19

            25       email.

            26                11.    As of March 3, 2020, as I had not received a response, so I again emailed the AOC and

            27       inquired as to the status of our application. In response the following day, the AOC stated that it had sent

            28       a letter to Mr. Gil Orion, an attorney at Fischer Behar Chen Well Orion & Co. (“FBC”), on February 25,
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              1      2020, citing Article 4 as the basis for its rejection for deficiency of form. A true and correct copy of that

              2      correspondence is included in Exhibit 2.

              3              12.     I immediately responded to the AOC and explained that the Convention requires the

              4      AOC to contact the applicant—myself, and not Mr. Orion—regarding the status of Hague requests. The

              5      AOC then provided me a copy of the letter it had sent to Mr. Orion on February 25, 2020, in Hebrew,

              6      along with a synopsis of the letter’s contents. The AOC stated that the letter references two “Article 4

              7      deficiencies”: (1) “The identity of the specific addressee” was missing; and (2) “The particulars of the

              8      parties – including their full information, addresses, telephone numbers and each addresses” were

              9      missing. A true and correct copy of that correspondence is included in Exhibit 2.

            10               13.     I contested the assertation of the AOC’s email, indicating two disagreements: first, the

            11       addressees were clearly identified, and second, that in nearly seven years of practice almost wholly

            12       devoted to Hague service matters, I had never been asked by any Central Authority worldwide—

            13       including the Israeli authority—to provide such specific information as the AOC now demanded.

            14               14.     I believe that the requests for service that I submitted to the AOC complied not only with

            15       the applicable provisions of the Convention, but with common and widespread practice in Hague Service

            16       Convention matters.

            17

            18               I declare under penalty of perjury that the foregoing is true and correct. Executed at Kansas City,

            19       Missouri on this 9th day of March, 2020, and respectfully submitted to the Court.

            20

            21

            22

            23                                                                __________________________________
                                                                              Aaron Lukken, Missouri Bar #65698
            24                                                                Viking Advocates, LLC
                                                                              6525 Charlotte Street
            25
                                                                              Kansas City, MO 64131
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